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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                                BILLINGS DIVISION


  UNITED STATES OF AMERICA,
                                                    CR 23-88-BLG-SPW
                        Plaintiff,

  vs.                                                ORDER


  PHILIP ANTHONY WALLACE,

                        Defendant.


        Before the Court is Defendant Philip Anthony Wallace's Motion to Suppress.

(Doc. 22). Wallace asks the Court to suppress the statements he made to officers

with the Montana Probation and Parole Bureau ("Probation Office")at his residence

on June 8, 2022, and the firearms and ammunition seized by the officers at his

residence on the same day. {Id. at 2). Wallace argues that his statements should be

suppressed as involuntarily elicited in violation of the Fifth Amendment, or, in the

alternative, as the result ofan un-Mirandized custodial interrogation also in violation

of the Fifth Amendment. (Doc. 23 at 2). As to the seizure of the firearms and

ammunition, Wallace argues that the search of his residence that resulted in the

seizure ofthe firearms violated the Fourth Amendment. {Id.).

         Wallace requested a hearing. (Doc. 22 at 2). The Court held an evidentiary

hearing on April 19,2024. (Doc.30). Probation Officer Jennifer Tobin and Sergeant
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